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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

              Plaintiff,                                  HONORABLE PAUL L. MALONEY

 v.                                                       Case No. 1:08-cr-274

 EMOND DUREA LOGAN, CAROLINE
 EPPS LOGAN, MARTELL D. LOGAN
 AND SHARON LOGAN,

            Defendants.
 _________________________________/

   ORDER DENYING MOTION TO WAIVE PERSONAL APPEARANCE AT HEARING

              This matter is before the Court on Defendants Emond Durea Logan, Caroline Epps

Logan, Martell D. Logan and Sharon Logan's Motion to Waive Personal Appearance at Hearing for

Defendants' First Motion to Dismiss Indictment for Improper Venue and First Motion to Sever

Defendants (Dkt. #281). The defendants have requested the Court proceed at the hearing without the

defendants present at the hearing. The government opposes their request. Upon consideration of the

motion, the Court will deny the request. Accordingly,

              IT IS HEREBY ORDERED that the Motion to Waive Personal Appearance at

Hearing for Defendants' First Motion to Dismiss Indictment for Improper Venue and First Motion to

Sever Defendants (Dkt. #281) is DENIED. Defendants Emond Durea Logan, Caroline Epps Logan,

Martell D. Logan and Sharon Logan shall be present at the hearing.


Date: August 4, 2010                                       /s/ Paul L. Maloney
                                                          Paul L. Maloney
                                                          Chief United States District Judge
